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                       EXHIBIT FFF

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 10
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 11   Inc., XPO Logistics, Inc., XPO Logistics,
      LLC, XPO Intermodal Solutions, Inc., and
 12
      XPO Intermodal Services, LLC
 13

 14                       UNITED STATES DISTRICT COURT
 15                     CENTRAL DISTRICT OF CALIFORNIA
 16
      VICTOR CORTEZ ARRELLANO,                    Case No. 2:18-cv-08220-RGK-E
 17   AND ON BEHALF OF ALL
 18   UNNAMED PLAINTIFFS                          DECLARATION OF HECTOR
      SIMILARLY SITUATED,                         CARRANZA IN SUPPORT OF
 19                                               DEFENDANTS’ OPPOSITION TO
 20
                        Plaintiffs,               PLAINTIFFS’ RENEWED
                                                  MOTION FOR CLASS
 21         v.                                    CERTIFICATION
 22   XPO PORT SERVICE INC.; and                  UNREDACTED VERSION OF
 23
      DOES 1 through 50, inclusive,               DOCUMENT PROPOSED TO BE
                                                  FILED UNDER SEAL
 24                     Defendants.
 25
                                                  Dept: 850
                                                  Judge: Hon. R. Gary Klausner
 26

 27                                               Consolidated with Case No.:
                                                  2:19-CV-09199-RGK-E
 28
                                                      CARRANZA DECL. ISO DEFENDANT S’ OPP. T O
                                                     PLAINT IFFS’ RENEWED MOT . FOR CLASS CERT .
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   1                     DECLARATION OF HECTOR CARRANZA
   2          I, Hector Carranza, hereby declare and state as follows:
   3          1.    I am a Safety Coordinator employed by XPO Logistics Port Services,
   4   LLC ("XPO") in Rancho Dominguez, California, and I have held that job with
   5   XPO since June 2015. In addition to other responsibilities, part ofmy job as a
   6   Safety Coordinator involves coordinating the onboarding process for independent
   7   contractors ("Contractors") that XPO contracts with to transport freight and
   8   ensuring that those Contractors are in compliance with applicable federal and state
   9   trucking safety regulations. As a Safety Coordinator, I am familiar with the Federal
  10   Motor Carrier Safety Regulations ("FMCSRs"), as well as XPO's safety practices.
  11   In carrying out my duties, I also have become familiar with many of the Contractors
  12   at XPO and their operational decisions.
  13         2.     I submit this declaration based upon my personal knowledge and, if
  14   called as a witness, could and would testify to the matters set forth below.
  15         3.     I am familiar with the Independent Contractor Operating Contracts
  16   ("ICOCs") that individual Contractors or incorporated Contractors enter into with
  17   XPO, as I review the ICOC with prospective Contractors or their officers or
  18   representatives as part of the onboarding process before they decide whether to
  19   agree to its terms and sign the agreement individually or on behalf of a limited
 20    liability company or incorporated entity. I usually spend
 21          reviewing the ICOC with them. Some Contractors and officers or
 22    representatives ask questions about specific portions of the ICOC, while reviewing
 23    it in depth, while others just want to sign the ICOC and do not ask any questions. I
 24    also explain to Contractors and their officers or representatives that they have the
 25    option to take the ICOC home with them, take it to their lawyers, and take their
 26    time reviewing it before signing it if they wish. As part of the onboarding process,
 27    I also review the FMCSRs and Department of Transportation ("DOT") safety-
 28    related regulations, which is usually just a refresher on various regulations the
                                                           CARRANZA DECL. ISO DEFENDANTS' OPP. TO
                                                 -2-      PLAINTIFFS' RENEWED MOT. FOR CLASS CERT.
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   1   Contractors and their officers or representatives mostly already know. The entire
   2   onboarding process takes                              , including review of the ICOC
   3   and safety guides and this refresher on relevant safety laws and regulations.
   4          4.    Contractors obtain the vehicles they use to service their contracts in
   5   different ways and from different sources. Some Contractors come in with their
   6   own trucks from working as contractors with other companies, or for themselves,
   7   already registered, while others choose to purchase or lease their trucks only shortly
   8   before signing their ICOCs. In the past, Contractors at the XPO terminal had the
   9   option to lease their vehicles through a source recommended or facilitated by XPO.
  10   However, in around 2016, XPO ended that practice. Since then, all Contractors
  11   who have entered into contracts with XPO have purchased or leased their trucks
  12   from outside dealerships or other sources of their choosing. It is my understanding
 13    that many of the Contractors who have onboarded since that time have purchased
 14    their trucks from the same nearby dealership, South Bay Truck Center, in Carson,
 15    California, through word of mouth or referrals from other contractors. However,
 16    Contractors choose to purchase or lease their trucks from other sources as well. It
 17    is up to Contractors whether to purchase or lease their trucks, as long as their trucks
 18    meet the Federal Motor Carrier Safety Administration's criteria.
 19          5.     While contracting with XPO, Contractors choose to run their
 20    businesses in different ways. For example, while most prospective Contractors sign
 21    their ICOCs as individuals, over the period of time at issue in this case, several
 22    owners of corporations or LLCs have chosen to contract on behalf of their business
 23    entities. I can recall at least five individuals who owned preexisting incorporated
 24    entities and who signed their contracts with XPO on behalf of those entities. At
 25    least two entities that I know of,
 26                   , are currently operating under a contract with XPO. Previously,
 27                           , which also has a contract with the XPO Logistics Cartage
 28    terminal in San Diego, was contracting with the XPO Port Services terminal. I
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   1   understand that at least some of these owners, such as the owner of
   2                    have chosen to pay themselves as employees of their entities.
   3          6.     There is no requirement that Contractors or their drivers start or end
   4   work at specific times or at all on any given day or week, and they choose the hours
   5   and days to operate that work best for them. In other words, Contractors set their
   6   own hours and days of providing services and those of any drivers they employ,
   7   and they have shared with me that they choose to work at times when the most
   8   work is available, when they can avoid traffic, or when they can avoid the worst
   9   lines at the ports. Contractors and their drivers also decide if and when they want to
  1o   request a load, and XPO does not have forced dispatch, meaning that Contractors
  11   are not required to accept the first option for a load provided to them ( or to accept a
  12   load at all), and in my experience they are not retaliated against or treated
  13   differently if they choose not to accept a load that is offered to them. XPO certainly
  14   has no policy of retribution should contractors refuse a load, and I am aware of
  15   contractors who refuse loads frequently.
  16          7.     Some of the individual Contractors and owners of corporate entities
  17   who have contracted with XPO during my time with the company have decided not
  18   to personally provide services under their contracts. For example, one of the
  19   incorporated entities currently under contract with XPO,                                 is
 20    owned by an individual who chooses not to personally drive. Instead, the entity
 21    pays other drivers to operate its truck. Another current Contractor,
 22            , lives out of state but has employed at least one driver to operate her truck
 23    in Los Angeles since July 2019. In recent years,                       , while working
 24    as a maintenance vendor for contractors at the Port Services terminal, has also
 25    contracted with XPO with at least one truck and has paid drivers to operate his
 26    truck on a full time basis.                is also a current non-driving Contractor.
 27    And                           owner lived in San Diego, but the corporation
 28
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                                                  -4-     PLAINTIFFS' RENEWED MOT. FOR CLASS CERT.
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   1   employed a driver to operate one of its trucks to provide services to XPO Port
   2   Services from 2018 until early 2019.
   3           8.    Some individual Contractors and owners of incorporated Contractors
   4   at XPO who do choose to personally drive also choose to employ second-seat
   5   drivers to operate one or more of their trucks at least part of the time. When
   6   Contractors employ second-seat drivers, they reach their own arrangements with
   7   their second-seat drivers regarding when they drive and what to pay them. XPO is
   8   not involved in or aware of the amounts that Contractors pay their second-seat
   9   drivers, nor does XPO control when, how, or how frequently the Contractors
  1o   choose to utilize them. Contractors can use previously qualified drivers who had
  11   worked for other Contractors to operate their trucks, or they can bring second-seat
  12   drivers of their choosing to XPO, and the recruiting team or the corporate safety
  13   team will simply review their materials and on-board them to ensure that the
  14   second-seat drivers Contractors want to employ meet the driver qualification
  15   standards under the FMCSRs. For example, Plaintiff Gerald Daniels just recently
  16   brought in his son to be qualified as a second-seat driver and he is currently in the
  17   process of being on-boarded to work for Mr. Daniels.
  18           9.   Around the time I first started at the terminal in 2015, there were at
  19   least seven Contractors that employed second-seat drivers to drive their trucks at
 20    least part of the time. Some of those Contractors operated multiple trucks and
 21    employed multiple drivers to drive those trucks. For example, between 2015 and
 22    2016,               operated around four trucks, and he employed and paid eight or
 23    more drivers to operate those trucks. Another Contractor,                       , operated
 24    at least four different trucks at one time as well, and he had a crew of at least seven
 25    different drivers when he was doing so. Contractor                 at one point had
 26    multiple vehicles (10 or more different units during my time at the company), and
 27    to my knowledge, he had a crew that included at least nine or 10 second-seat
 28    drivers. Even many Contractors who do not utilize multiple trucks nonetheless
                                                           CARRANZA DECL. ISO DEFENDANTS' OPP. TO
                                                 -5-      PLAINTIFFS' RENEWED MOT. FOR CLASS CERT.
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   1   occasionally employ second-seat drivers to operate their trucks. For example,
   2   Contractors                                 each have only one truck (Mr.
   3   previously had at least two), but each employed at least one second-seat driver.
   4   Contractor                 has also recently employed at least one second-seat
   5   driver. While Mr.             still personally drives at times, he occasionally goes for
   6   long periods without doing so, having his second-seat driver operate his truck on a
   7   nearly full-time basis instead.
   8           10.   Under the terms of the ICOC, and particularly Schedule T of the
   9   ICOC,
  1o

  11

  12                                                     Although I do not systematically track
  13   this information, I am aware of at least         Contractors who have had their own
  14   DOT numbers and operating authority.
  15           11.   Of course, Contractors also always have the option to contract with
  16   and provide services to other companies using other vehicles that are not under
  17   contract to XPO, subject only to those same hours of service limitations. At one
  18   point in 2018, for example, it is my understanding that                   was using some
  19   additional trucks he and his drivers operated to haul loads for another logistics
  20   company while using other trucks under his contract with XPO. Individual
  21   Contractors (and drivers of incorporated Contractors) also have the ability to drive
  22   for other companies using a different vehicle from that under contract to XPO, and
 23    they can even do so as an employee driver for those other companies if they so
 24    choose (while also providing services under their contracts with XPO). In neither
 25    case do they need to meet the requirements of Schedule T of the ICOC.
 26    II
 27    II
 28    II
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                                                  -6-       PLAINTIFFS' RENEWED MOT. FOR CLASS CERT.
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   1         I declare under penalty of perjury under the laws of the United States of
   2   America that the foregoing is true and correct to the best of my knowledge,
   3   information, and belie£
   4         Executed this 17th day of June, 2020, at Rancho Dominguez, California.
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